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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

      KAREN GRACE,                              )
                                                )
                    Plaintiff,                  )
                                                )
               v.                               )          Case No. 4:21-CV-00623-JAR
                                                )
     CLUB FITNESS, INC.,                        )
                                                )
                    Defendant.                  )

                                     ORDER OF DISMISSAL

       This matter is before the Court on Plaintiff Karen Grace’s Voluntary Dismissal Without

Prejudice. (Doc. 7). Fed. R. Civ. P. 41(a)(1)(A)(i) permits the plaintiff to dismiss an action

without a court order by filing a notice of dismissal before the opposing party serves an answer

or motion for summary judgment. Such dismissal is without prejudice unless otherwise noted.

Fed. R. Civ. P. 41(a)(1)(B). This Court will dismiss this action without prejudice because

Plaintiff has properly filed a notice of dismissal before Defendant Club Fitness, Inc. filed an

answer or motion for summary judgment.


       Accordingly,

       IT IS HEREBY ORDERED that this matter is DISMISSED without prejudice.


       Dated this 7th day of June, 2021.


                                                ________________________________
                                                JOHN A. ROSS
                                                UNITED STATES DISTRICT JUDGE
